

Matter of Glass (2018 NY Slip Op 06174)





Matter of Glass


2018 NY Slip Op 06174


Decided on September 20, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 20, 2018


[*1]In the Matter of HEATHER SHANNON GLASS, an Attorney. (Attorney Registration No. 5470752)

Calendar Date: September 17, 2018

Before: Egan Jr., J.P., Lynch, Devine, Mulvey and Aarons, JJ.


Heather Shannon Glass, Henrico, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Heather Shannon Glass was admitted to practice by this Court in 2016 and lists a business address in Richmond, Virginia with the Office of Court Administration. Glass now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Glass's application.
Upon reading Glass's affidavit sworn to August 22, 2018 and filed August 31, 2018, and upon reading the September 7, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Glass is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Lynch, Devine, Mulvey and Aarons, JJ., concur.
ORDERED that Heather Shannon Glass's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Heather Shannon Glass's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Heather Shannon Glass is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or [*2]employee of another; and Glass is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Heather Shannon Glass shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








